Case 1:04-cv-01220-.]DT-STA Document 20 Filed 05/23/05 Page 1 of 2 Pa%|D 15
!

@
03 6?1/ z
IN THE UNITED STATES DISTRICT COURT /S;y}, `
FOR THE WESTERN DISTRICT 0F TENNESSEE;; 93 4 `\ an

EASTERN DIVISION "<“~7¢;9 %_.
/ oi:O/<` 'O/ ‘?<9
"< /`6-:5’ 590
W%H%Vq@
CEDRIC D. WHITESIDE and °/?32%@?
MALCOLM WHITESIDE,
Plaintiffs,
Vs. No. 04-1220-T-An

DAVID WOOLFORK, et al.,

\_/\_/\_v’\_/\_/\_/\_/\_J\_/\_/

Defendants.

 

ORDER GRANTING MOTION TO TAKE DEPOSITION OF PRISONER

 

Defendants have filed a motion pursuant to Federal Rule of Civii Procedure 30 to
take the deposition of Christopher Brown. Defendants are seeking the court's permission
because Brown is incarcerated Defendants' motion is GRANTED provided that prior
arrangements are made With the jailer or his designated representative to insure compliance
with the facility's security regulations

IT IS SO ORDERED.

  

TED STATES DISTRICT JUDGE

93 /?Mg.;>ws’

DATE

Thh document amend on mg w
hanan
"'"‘ ""'° °° '"¢'°'19(¢) FHCP on §E’>-,DLM

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case l:04-CV-01220 Was distributed by faX, mail, or direct printing on
May 23, 2005 to the parties listedl

ESSEE

 

J ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son7 TN 38305

Cedric D. Whiteside
N.W.C.X.

246923

Tipt()nville7 TN 38079

J on A. York

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son7 TN 38305

Honorable J ames Todd
US DISTRICT COURT

